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                                                          UNITED STATES DEPARTMENT OF JUSTICE
                                                          OFFICE OF THE UNITED STATES TRUSTEE
                                                             CENTRAL DISTRICT OF CALIFORNIA

In Re:                                                                       CHAPTER 11 (BUSINESS)
    Scoobur, LLC                                                             Case Number:                                                   2:19-BK-14997-WB


                                                                             Operating Report Number:                                                     2
                                                              Debtor(s)      For the Month Ending:                                      6/1/2019 to 6/30/2019

                                                             I. CASH RECEIPTS AND DISBURSEMENTS
                                                                    A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                      0

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                           0
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                        0

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)              Branch Deposit                                                                           25
   **Other (Specify)            Card Claim Final Credit                                                               1,019

   TOTAL RECEIPTS THIS PERIOD:                                                                                                                           1,044

5. BALANCE:                                                                                                                                              1,044

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)                                                                          0
   Disbursements (from page 2)                                                                                            0

   TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                                       0

7. ENDING BALANCE:                                                                                                                                       1,044

8. General Account Number(s):                                             ******3755


                                                                          DIP Operating Wells Fargo
                                                                          3200 Foothill, Blvd.
   Depository Name & Location:                                            La Crescenta, CA 91214


* All receipts must be deposited into the general account.

** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold, to whom,
terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




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TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

  Date           Check        Payee or DIP                                             *Amount           **Amount
mm/dd/yyyy      Number          account                      Purpose                  Transferred        Disbursed              Amount




                                             TOTAL DISBURSEMENTS THIS PERIOD:

* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




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GENERAL ACCOUNT
                                                          BANK RECONCILIATION

                            Bank statement Date:                6/30/2019        Balance on Statement:          $1,044

Plus deposits in transit (a):
                                                        Deposit Date            Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                          $0
Less Outstanding Checks (a):
                           Check Number                  Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                          $0

Bank statement Adjustments:                                                                                        $0
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                          $1,044
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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I. CASH RECEIPTS AND DISBURSEMENTS
                                            B. (PAYROLL ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                                        N/A

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL
ACCOUNT REPORTS

3. BEGINNING BALANCE:

4. RECEIPTS DURING CURRENT PERIOD:
   (Transfer from General Account)

5. BALANCE:

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***

7. ENDING BALANCE:

8. PAYROLL Account Number(s):

   Depository Name & Location:




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TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD

                   Check
Date mm/dd/yyyy   Number           Payee                               Purpose                    Amount




                                                               TOTAL DISBURSEMENTS THIS PERIOD:




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PAYROLL ACCOUNT
                                                          BANK RECONCILIATION

                            Bank statement Date:                6/30/2019        Balance on Statement:          N/A

Plus deposits in transit (a):
                                                        Deposit Date            Deposit Amount



TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                           Check Number                  Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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I. CASH RECEIPTS AND DISBURSEMENTS
                                                 C. (TAX ACCOUNT)

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                                            N/A

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX
ACCOUNT REPORTS

3. BEGINNING BALANCE:

4. RECEIPTS DURING CURRENT PERIOD:
   (Transfer from General Account)

5. BALANCE:

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***

7. ENDING BALANCE:

8. TAX Account Number(s):

   Depository Name & Location:




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TOTAL DISBURSEMENTS FROM TAX ACCOUNT FOR CURRENT PERIOD

   Date        Check
 mm/dd/yyyy   Number            Payee                            Purpose                     Amount




                                                          TOTAL DISBURSEMENTS THIS PERIOD:




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TAX ACCOUNT
                                                          BANK RECONCILIATION

                            Bank statement Date:                6/30/2019        Balance on Statement:          N/A

Plus deposits in transit (a):
                                                        Deposit Date            Deposit Amount



TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                           Check Number                  Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment
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I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                     (Provide a copy of monthly account statements for each of the below)

                                                                                    General Account:                             1,044
                                                                                     Payroll Account:                                0
                                                                                        Tax Account:                                 0
       *Other Accounts:


        *Other Monies:
                                                                          **Petty Cash (from below):

TOTAL CASH AVAILABLE:                                                                                                                           1,044


Petty Cash Transactions:
          Date                             Purpose                                                                      Amount




TOTAL PETTY CASH TRANSACTIONS:



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




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II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                                        AND OTHER PARTIES TO EXECUTORY CONTRACTS


                                                                                          Post-Petition payments
   Creditor, Lessor, Etc.       Frequency of Payments (Mo/Qtr)    Amount of Payment        not made (Number)             Total Due




                                                                                                      TOTAL DUE:


                                                           III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                                                  Gross Sales Subject to Sales Tax:                     N/A
                                                                                                Total Wages Paid:                       N/A

                                                                   Total Post-Petition                                Date Delinquent
                                                                    Amounts Owing           Amount Delinquent          Amount Due
                                Federal Withholding
                                State Withholding
                                FICA- Employer's Share
                                FICA- Employee's Share
                                Federal Unemployment
                                Sales and Use
                                Real Property
                       Other:
                                                         TOTAL:




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IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE
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                                                                                                                        *Accounts Payable                                      Accounts Receivable
                                                                                                                          Post-Petition                         Pre-Petition                         Post-Petition
                                                                                                 30 days or less
                                                                                                   31 - 60 days
                                                                                                   61 - 90 days
                                                                                                  91 - 120 days
                                                                                                 Over 120 days
                                                                                                        TOTAL:

                                                                                                 V. INSURANCE COVERAGE

                                            Type                               Name of Carrier                         Amount of Coverage                  Policy Expiration Date           Premium Paid Through (Date)




                       Others:


                                                                                       VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                                                                   (TOTAL PAYMENTS)


Quarterly Period Ending (Date)       Total Disbursements                        Quarterly Fees                              Date Paid                           Amount Paid                  Quarterly Fees Still Owing




* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




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VII SCHEDULE OF COMPENSATION PAID TO INSIDERS


                                          Date of Order Authorizing                                        Gross Compensation
           Name of Insider                     Compensation              *Authorized Gross Compensation   Paid During the Month




                                       VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                          Date of Order Authorizing                                       Amount Paid During the
           Name of Insider                     Compensation                        Description                   Month




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)




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                                                 IX. PROFIT AND LOSS STATEMENT
                                                       (ACCRUAL BASIS ONLY)

                                                                           Current Month         Cumulative Post-Petition
Sales/Revenue:
    Gross Sales/Revenue                                                                    N/A
    Less: Returns/Discounts
                                                   Net Sales/Revenue

Cost of Goods Sold:
   Beginning Inventory at cost
   Purchases
   Less: Ending Inventory at cost
                                            Cost of Goods Sold (COGS)

Gross Profit

   Other Operating Income (Itemize)

Operating Expenses:
   Payroll - Insiders
   Payroll - Other Employees
   Payroll Taxes
   Other Taxes (Itemize)
   Depreciation and Amortization
   Rent Expense - Real Property
   Lease Expense - Personal Property
   Insurance
   Real Property Taxes
   Telephone and Utilities
   Repairs and Maintenance
   Travel and Entertainment (Itemize)
   Miscellaneous Operating Expenses (Itemize)
                                         Total Operating Expenses

                                      Net Gain/(Loss) from Operations

Non-Operating Income:
   Interest Income
   Net Gain on Sale of Assets (Itemize)
   Other (Itemize)
                                          Total Non-Operating income

Non-Operating Expenses:
   Interest Expense
   Legal and Professional (Itemize)
   Other (Itemize)
                                        Total Non-Operating Expenses

NET INCOME/(LOSS)

(Attach exhibit listing all itemizations required above)




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                                                              X. BALANCE SHEET
                                                            (ACCRUAL BASIS ONLY)

ASSETS                                                                     Current Month End
   Current Assets:
   Unrestricted Cash                                                                            1,044
   Restricted Cash
   Accounts Receivable
   Inventory
   Notes Receivable
   Prepaid Expenses
   Other (Itemize)
                                                  Total Current Assets                                             1,044

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                                Net Property, Plant, and Equipment

Other Assets (Net of Amortization):
   Due from Insiders
   Other (Itemize)                                                                             89,000 (1)
                                                    Total Other Assets                                         89,000

TOTAL ASSETS                                                                                                   90,044

LIABILITIES
Post-petition Liabilities:
   Accounts Payable
   Taxes Payable
   Notes Payable
   Professional fees
   Secured Debt
   Other (Itemize)                                                                              1,044 (2)
                                         Total Post-petition Liabilities                                           1,044

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities
   Secured Liabilities
   Other (Itemize)
                                          Total Pre-petition Liabilities                                              0

TOTAL LIABILITIES                                                                                                  1,044

EQUITY:
                                                                                               89,000
   Post-petition Profit/(Loss)
   Direct Charges to Equity
TOTAL EQUITY                                                                                                   89,000

TOTAL LIABILITIES & EQUITY                                                                                     90,044


(1) Relates to the Scoobeez.com, trademark and various related marks.




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XI. QUESTIONNAIRE



1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have been
     authorized by the court? If "Yes", explain below:                                                                     No     Yes
                                                                                                                            X


2.
     Has the debtor-in-possession during this reporting period provided compensation or remuneration to any officers,
     directors, principals, or other insiders without appropriate authorization? If "Yes", explain below:                  No     Yes
                                                                                                                            X

3.   State what progress was made during the reporting period toward filing a plan of reorganization

     On or about June 6, 2019, the Court entered an order authorizing the Debtor(s) to retain Brian Weiss of Force 10

     with the Debtors and the Debtor(s) professionals towards the exit strategy most likely to maximize the value of


4.   Describe potential future developments which may have a significant impact on the case:
     See response to question #3. In addition, the deadline for the Official Committee of Unsecured Creditors (the

     asserted by and/or lien(s) purportedly in favor of Hillair Capital Management is July 24, 2019, and the Committee
     has indicated their intent to do so on or before that date by way of adversary proceeding and/or contested
     matter.
5.
     Attach copies of all Orders granting relief from the automatic stay that were entered during the reporting period.


6.   Did you receive any exempt income this month, which is not set forth in the operating report? If "Yes", please set
     forth the amounts and sources of the income below.                                                                    No     Yes
                                                                                                                            X

     /s/ George Voskanian
I,   George Voskanian, CFO/Co-CEO

     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-possession operating
     report and that the information contained herein is true and complete to the best of my knowledge.




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  1 Ashley M. McDow (245114)
    FOLEY & LARDNER LLP
  2 555 S. Flower St., Suite 3300
    Los Angeles, CA 90071
  3 Telephone:    213.972.4500
    Facsimile:    213.486.0065
  4 Email:        amcdow@foley.com
  5 and

  6 John A. Simon (admitted pro hac vice)
    FOLEY & LARDNER LLP
  7 500 Woodward Ave., Ste. 2700
    Detroit, MI 48226
  8 Telephone:    313.234.7100
    Facsimile:    313.234.2800
  9 Email:        jsimon@foley.com
 10 Attorneys for Debtors and Debtors-in-Possession,
    Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC
 11
                             UNITED STATES BANKRUPTCY COURT
 12
                              CENTRAL DISTRICT OF CALIFORNIA
 13
                                      LOS ANGELES DIVISION
 14

 15   In re                                                      Case No. 2:19-bk-14989-WB
                                                                 Jointly Administered:
 16   SCOOBEEZ, et al.1                                          2:19-bk-14991-WB; 2:19-bk-14997-WB

 17                 Debtors and Debtors in                       Chapter 11
                    Possession.
 18                                                             GLOBAL NOTES AND STATEMENT OF
      _____________________________________                     LIMITATIONS, METHODOLOGY, AND
 19                                                             DISCLAIMERS REGARDING SCOOBUR,
      Affects:                                                  LLC’S JUNE 2019 MONTHLY
 20                                                             OPERATING REPORT
      ; $22 &1/7456
 21
      ; ,044/119" +*)-
 22
      ; ,044/119 '24/.2" (30#" +*)-
 23
      : ,044/85 ))%" +*)-
 24

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      1
       The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
 28   Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
      Boulevard, Glendale, California 91214.
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  1          Scoobur, LLC, as debtor and debtor in possession (“Scoobur”) is filing its June 2019
  2   Monthly Operating Report in accordance with the United States Trustee Guidelines for the
  3   Bankruptcy Court for the Central District of California. These Global Notes and Statement of
  4   Limitations, Methodology, and Disclaimers Regarding Scoobur’s June 2019 Monthly Operating
  5   Report (the “Global Notes”) relate to the Scoobur June 2019 Monthly Operating Report (the
  6   “MOR”) and are in addition to any specific notes contained in the MOR.
  7          These Global Notes comprise an integral part of the MOR and should be referred to
  8   and considered in connection with any review of the MOR. The MOR and Global Notes
  9   should not be relied upon by any persons for information relating to current or future
 10   financial conditions, events, or performance of Scoobur.
 11          The MOR was prepared by George Voskanian, the Chief Financial Officer and Co-Chief
 12   Executive Officer (“Voskanian”) of Scoobur’s sole member, Scoobeez Global, Inc., with the
 13   assistance of Scoobur’s advisors. Although Voskanian has made reasonable efforts to ensure that
 14   MOR is accurate and complete based upon information that was available at the time of preparation,
 15   subsequent information or discovery thereof may result in material changes to MOR, and
 16   inadvertent errors or omissions may exist. Moreover, the MOR contains unaudited information,
 17   which is subject to further review and potential adjustment.
 18          The MOR has been signed by Voskanian. In reviewing and signing the MOR, Voskanian
 19   necessarily relied upon the efforts, statements, and representations of Scoobur’s other personnel
 20   and professionals.
 21          Scoobur and its agents, attorneys, and financial advisors do not guarantee or warrant the
 22   accuracy or completeness of the data that is provided herein, and shall not be liable for any loss or
 23   injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent
 24   or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
 25   delivering the information contained herein. While reasonable efforts have been made to provide
 26   accurate and complete information herein, inadvertent errors or omissions may exist.
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  1                               GLOBAL NOTES PERTAINING TO MOR
  2          1.      General Reservation of Rights: Scoobur reserves all rights to amend the MOR
  3   from time to time, in any and all respects, as may be necessary or appropriate. Any specific
  4   reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
  5   general reservation of rights contained in this paragraph.
  6          2.      Global Notes Control. These Global Notes pertain to and comprise an integral part
  7   of the MOR and should be referenced in connection with any review thereof. In the event that the
  8   MOR conflict with these Global Notes, these Global Notes shall control.
  9          3.      Reservations and Limitations. Reasonable efforts have been made to prepare and
 10   file a complete and accurate MOR; however, as noted above, inadvertent errors and omissions may
 11   exist. Scoobur reserves all rights to amend and supplement the MOR as may be necessary or
 12   appropriate. Nothing contained in the MOR constitutes a waiver of Scoobur’s rights or an
 13   admission of any kind with respect to these Chapter 11 Cases, including, but not limited to, any
 14   rights or claims of Scoobur against any third party or issues involving substantive consolidation,
 15   recharacterization, equitable subordination, or defenses or causes of action arising under the
 16   provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy or non-
 17   bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights contained
 18   elsewhere in the Global Notes does not limit in any respect the general reservation of rights
 19   contained in this paragraph.
 20          4.      No Admission. Nothing contained in the MOR is intended or should be construed
 21   as an admission or stipulation of the validity of any claim against Scoobur, the secured status of
 22   any claim against Scoobur, the nature of any contract, including whether such contract is executory,
 23   or a waiver of Scoobur’s rights to dispute any claim, the status of any contract, or to assert any
 24   cause of action or defense against any party. Furthermore, nothing in the MOR constitutes an
 25   admission by Scoobur of the legal rights of any vendor, claimant, or contract counterparty, or
 26   nothing in the MOR constitutes a waiver of Scoobur’s rights to recharacterize or reclassify
 27   such claim or contract.
 28



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  1          5.      Financial Information. The financial and tax information contained in the MOR
  2   continues to be reviewed by Scoobur and its professionals and will be amended or updated as
  3   necessary and appropriate. Historically, based upon the relationship amongst the Debtors, certain
  4   financial obligations and results of the operating entity (Scoobeez) may have beeen reported or
  5   reflected in the financials of the parent company (Scoobeez Global). For instance, solely by way
  6   of example, the Debtors have filed consolidated tax returns.
  7          6.      Insiders. In the circumstances where the MOR requires information regarding
  8   “insiders,” Scoobur has included information with respect to certain individuals who served as
  9   officers and directors, as the case may be, during the relevant time periods. Such individuals may
 10   no longer serve in such capacities. The listing of a party as an insider for purposes of the MOR is
 11   not intended to be, nor should it be, construed an admission of any fact, right, claim, or defense, and
 12   all such rights, claims, and defenses are hereby expressly reserved. Information regarding the
 13   individuals listed as insiders in the MOR may not be used for the purposes of determining
 14   control of Scoobur, the extent to which any individual exercised management responsibilities or
 15   functions, corporate decision-making authority over Scoobur, or whether such individual
 16   could successfully argue that he or she is not an insider under applicable law, including the
 17   Bankruptcy Code and federal securities laws, or with respect to any theories of liability or any other
 18   purpose. Payments listed as being made to insiders in the MOR continue to be reviewed by Scoobur
 19   and its professionals and will be amended or updated as necessary and appropriate.
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